Case 2:15-cr-20382-VAR-MKM ECF No. 118, PageID.1176 Filed 04/12/19 Page 1 of 19




                                  UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF MICHIGAN
                                       SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

          Plaintiff,
                                                                 File No. 15-cr-20382-01
 -vs-
                                                                 Honorable Victoria A. Roberts
 PAUL NICOLETTI,

          Defendant.
 CRAIG A. WEIER (P33261)            JOHN K. NEAL                      JAMES C. HOWARTH (P15179)
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                   MOTION IN LIMINE TO PREVENT THE USE
                  OF GOVERNMENT WIRE TAPS OF TELEPHONE
                CONVERSATIONS OF DEFENDANT PAUL NICOLETTI

          Defendant PAUL NICOLETTI, by his attorney, JAMES C. HOWARTH, asks

 this Court to exclude from evidence in this case a series of excerpts of telephone

 conversations between Mr. Nicoletti and Alan Lucia, a former co-defendant, recorded,

 without Nicoletti’s knowledge or consent, in February, 2006.

          The basis of this Motion is first that these interceptions were made without the

 consent of all parties to the conversations, and were made without application for a

 search warrant to any court. Second, the tapes violate Mr. Nicoletti’s Fourth

 Amendment right to privacy. Third, the tapes were made over thirteen years ago,


                                                          -1-
Case 2:15-cr-20382-VAR-MKM ECF No. 118, PageID.1177 Filed 04/12/19 Page 2 of 19




 without proper supervision by the government and without proper authentication.

 Fourth, even if the recordings were legally admissible, their prejudicial effect far

 outweighs their probative value under F.R.E. 403. Fourth, if the Court were to reject

 all of the above arguments, then fairness demands that rather than admit the selected

 portions proposed by the government, the “rule of completeness” found in F.R.E. 106,

 dictates that the tapes must be played in their entirety. Lastly, the tapes are not

 properly authenticated under F.R.E. 901 and are largely unintelligible, thus rendering

 them untrustworthy. See, attached Brief in Support.

                                        Respectfully submitted,
                                        /s/James C. Howarth
                                        JAMES C. HOWARTH (P15179)
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 Dated: April 12, 2019




                                          -2-
Case 2:15-cr-20382-VAR-MKM ECF No. 118, PageID.1178 Filed 04/12/19 Page 3 of 19




                                  UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF MICHIGAN
                                       SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

          Plaintiff,
                                                                 File No. 15-cr-20382-01
 -vs-
                                                                 Honorable Victoria A. Roberts
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          BRIEF IN SUPPORT OF MOTION IN LIMINE TO
       PREVENT THE USE OF GOVERNMENT WIRE TAPS OF
   TELEPHONE CONVERSATIONS OF DEFENDANT PAUL NICOLETTI
Case 2:15-cr-20382-VAR-MKM ECF No. 118, PageID.1179 Filed 04/12/19 Page 4 of 19




                                        TABLE OF CONTENTS
                                                                                                            Page

 INDEX OF AUTHORITIES . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . ii

 STATEMENT OF ISSUE . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . iv

 STATEMENT OF CONTROLLING AUTHORITY . . . . . . . . . . . . . . . . . . . . . . iv

 STATEMENT OF FACTS AND ARGUMENT . . . . . . . . . . . . . . . . . . . . . . . . . . . 1

 CONCLUSION . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 11
Case 2:15-cr-20382-VAR-MKM ECF No. 118, PageID.1180 Filed 04/12/19 Page 5 of 19




                                      TABLE OF AUTHORITIES
                                                                                                                Page

                                CONSTITUTIONAL PROVISIONS

 U.S. Const. Am. IV . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . iv

                                             FEDERAL CASES

 City of Ontario, Cal. v. Quon, 560 U.S. 746 (2010) . . . . . . . . . . . . . . . . . . . . . . . . 3

 Katz v. United States, 389 U.S. 347, 352 (1967) . . . . . . . . . . . . . . . . . . . . . . . . . iv,

 Kyllo v. United States, 533 U.S. 27, 33 (2001) . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3

 Minnesota v. Carter, 525 U.S. 83, 88 (1998) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3

 United States v. Adams, 772 F.3d 788, 826 (6th Cir, 2013) . . . . . . . . . . . . . . . . . . . 9

 United States v. Ford, 761 F.3d 641, 652 (6th Cir. 2014) . . . . . . . . . . . . . . . . . iv, 9

 United States v. Holden, 557 F.3d 698, 705 (6th Cir. 2009) . . . . . . . . . . . . . . . . . . 9

 United States v. Jenkins, 593 F.3d 480, 485-86 (6th Cir. 2010) . . . . . . . . . . . . . . . 6

 United States v. Merriweather, 78 F.3d 1070, 1077 (6th Cir. 1996) . . . . . . . . . . . . 6

 United States v. Schrock, 855 F.2d 327, 335 (6th Cir. 1988) . . . . . . . . . . . . . . . . . . 4

 United Sates v. Smithers, 212 F.3d 306, 316 (6th Cir. 2000) . . . . . . . . . . . . . . . . . 10

 United States v. Wesley, 417 F.3d 612, 622 (6th Cir. 2005) . . . . . . . . . . . . . . . iv, 5

 United States v. Wilson, 565 F.3d 1059, 1066 (8th Cir. 2009) . . . . . . . . . . . . . . . . 8




                                                          -ii-
Case 2:15-cr-20382-VAR-MKM ECF No. 118, PageID.1181 Filed 04/12/19 Page 6 of 19




                                                                                                                     Page

                         FEDERAL STATUTES AND COURT RULES

 18 U.S.C. §2510, et seq. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . iv, 3
 18 U.S.C. §2511(1)(b) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3

 F.R.E. 106 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 9
 F.R.E. 401 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 4
 F.R.E. 403 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3, 4, 5
 F.R.E. 404(b) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 4
 F.R.E. 901 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 7

                        MICHIGAN STATUTES AND COURT RULES

 M.C.L. 750.539c . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3




                                                            -iii-
Case 2:15-cr-20382-VAR-MKM ECF No. 118, PageID.1182 Filed 04/12/19 Page 7 of 19




                            STATEMENT OF ISSUES

       ARE CERTAIN TAPE RECORDINGS OF TELEPHONE CON-
       VERSATIONS BETWEEN DEFENDANT AND A FORMER CO-
       DEFENDANT, INITIATED BY THE GOVERNMENT, ADMISSI-
       BLE IN EVIDENCE?


              STATEMENT OF CONTROLLING AUTHORITY

       Defendant relies on the following controlling authority:

                                 U.S. Const. Am. IV

                  Katz v. United States, 389 U.S. 347, 352 (1967)

             United States v. Wesley, 417 F.3d 612, 622 (6th Cir. 2005)

              United States v. Ford, 761 F.3d 641, 652 (6th Cir. 2014)

                              18 U.S.C. §2510, et seq.

                                     F.R.E. 106

                                     F.R.E. 403

                                     F.R.E. 901

                                  M.C.L. 750.539c




                                        -iv-
Case 2:15-cr-20382-VAR-MKM ECF No. 118, PageID.1183 Filed 04/12/19 Page 8 of 19




                  STATEMENT OF FACTS AND ARGUMENT

       I.     BACKGROUND

       The government has indicated to defense counsel and the Court its intention to

 attempt to introduce certain tape recorded telephone conversation between defendant

 Paul Nicoletti and former co-defendant Alan Lucia into evidence in the trial of this

 case.1 These telephone tapes, made with the consent of Lucia, but not Nicoletti, were

 created at the behest of the government and the FBI agents who are in charge of this

 case. Presumably Mr. Lucia received, or expected to receive, some sentencing

 consideration for his cooperation with the government by luring defendant Nicoletti

 into making incriminating statements during what Nicoletti thought were innocuous,

 friendly, bantering, give-and-go between old acquaintances. They were, instead,

 insidious traps, designed to catch Nicoletti off guard, and possibly induce him to make

 remarks capable of being misunderstood as a confession.

       According to the government’s proffer, the proposed evidence will consist of

 the following highlights:

       “02/03/06 [February 3, 2006?] Telephone call: Nicoletti/A. Lucia: ID 2-3
       includes ‘Yeah, we’re gonna be in jail together. Might as well get
       started.’”


       1
        The government’s proposed exhibit list, item #94, contains excerpts from
 several telephone calls between defendant Nicoletti and former co-defendant Alan
 Lucia, intercepted at the request of the FBI in February, 2006.

                                          -1-
Case 2:15-cr-20382-VAR-MKM ECF No. 118, PageID.1184 Filed 04/12/19 Page 9 of 19




       “02/03 - 06/06 (nail down date) Telephone call: Nicoletti/A. Lucia: ID
       3-6: Excerpt at 29:36-30.16, Tr. at p. 5-6 includes ‘we might have to
       change it and forge some signatures on it - you like how casually I say
       that - Eh, that’s my job.’”

       “02/06-07/06 Telephone Call: Nicoletti/A.Lucia: ID 5-6: Excerpt at
       24:45-25:13, TR at pp. 1-2 includes ‘We got the dog to keep her
       company when I’m in the big house.’”

       “02/13/06 Telephone Call: Nicoletti/A.Lucia: ID 9-2: at 24:45-2:50, TR
       at pp.1 includes ‘the fucking feds.’”

       “02/13/06 Telephone Call: Nicoletti/A.Lucia ID 9-3: Full Conversation
       at 4:33 to 13:14, containing, at 8:28: ‘two rules: ...nothing good ever
       happens when the fucking feds show up’; 9:20: subpoena review
       ‘records identifying all shareholders, employees and officers of
       Continental. Uh, oh. That’s not good’, at 11 :10: ‘You know, Cham,2 it
       looks like we’re all gonna be indicted’; and at 11 :40: ‘we’ll certainly
       find out’ if they still bust rocks at Leveanworth.”

       Defendant Nicoletti objects to the introduction of all or any of the above

 excerpts for several legal reasons. The first of which is that the conversations are

 clearly more prejudicial than probative.

       II.    THE TAPED CONVERSATIONS WERE INTERCEPTED
              ILLEGALLY.

       Paul Nicoletti, in February, 2006, had a reasonable expectation of privacy

 during telephone conversations he engaged in with his friend, Alan Lucia, which

 expectations were violated by the government tap on Mr. Lucia’s phone. “ [A] Fourth


       2
        According to Paul Nicoletti, “Cham” is a particular term of endearment,
 used interchangeably, between himself and Alan Lucia.

                                            -2-
Case 2:15-cr-20382-VAR-MKM ECF No. 118, PageID.1185 Filed 04/12/19 Page 10 of 19




  Amendment search occurs when the government violates a subjective expectation of

  privacy that society recognizes as reasonable.” Kyllo v. United States, 533 U.S. 27,

  33 (2001).    Therefore, Mr. Nicoletti must establish that he had a reasonable

  expectation of privacy in talking to his friend, Alan Lucia, on his own telephone.

  Minnesota v. Carter, 525 U.S. 83, 88 (1998). Society has recognized that a privacy

  expectation in a telephone conversation is reasonable. Katz v. United States, 389 U.S.

  347, 352 (1967). Apparently the expectation extends to cellular phones as well as

  land lines. City of Ontario, Cal. v. Quon, 560 U.S. 746 (2010).

        Both federal law (18 U.S.C. §2511(1)(b)) and Michigan law (M.C.L. 750.539c)

  forbid interception, without warrant, of private telephone conversations without the

  consent of all parties. Whether or not Alan Lucia consented to the intercept search is

  not material, inasmuch as Paul Nicoletti did not.

        If the Federal Bureau of Investigation, whom the government will readily admit

  set up and monitored the phone taps, wanted to see if they could intrigue Nicoletti into

  confessing guilt, they had a the viable option of securing a court ordered intercept

  under Title III of the Omnibus Safe Streets Act of 1968. (18 U.S.C. §2510, et seq.).

        III.   THE GOVERNMENT’S PROPOSED EVIDENCE IS
               INADMISSIBLE UNDER F.R.E. 403.




                                            -3-
Case 2:15-cr-20382-VAR-MKM ECF No. 118, PageID.1186 Filed 04/12/19 Page 11 of 19




        Defendant assumes that the questioned tapes are offered as admissions of a

  party opponent.3 Whereas defendant does not concede the relevance of the offered

  testimony, he argues that regardless of relevancy under F.R.E. 401, the evidence

  should be excluded under F.R.E. 403 because its probative value “is substantially

  outweighed” by the danger of unfair prejudice.

        First, it should be noted that no where in the government’s rendition of the

  intercepted conversations does Nicoletti admit that he committed fraud or intended to

  commit any crime. His words are a fairly obvious banter with not only a co-

  defendant, but, more importantly, with someone he (wrongfully) thought was a friend.

  Unfortunately for defendant, the use of the cleverly edited excerpts conveys the unfair

  and untrue impression that Nicoletti is confessing guilt, rather than ridiculing the

  charge which he foresees in the future. As the Sixth Circuit explained the argument

  against admitting such evidence, unfair prejudice “does not mean the damage to a

  defendant’s case that results from the legitimate probative force of the evidence; rather

  it refers to evidence which tends to suggest decision on an improper basis.” United

  States v. Schrock, 855 F.2d 327, 335 (6th Cir. 1988). If one knows the whole story,


        3
         It is possible, though unlikely, that the government considers them to be
  other wrongful acts under F.R.E. 404(b), but if so, the government has failed to file
  proper notice of that allegation. It is also possible that the government considers
  them statements by a co-conspirator during the course of, and in furtherance of the
  conspiracy. However, neither explanation has been forthcoming.

                                            -4-
Case 2:15-cr-20382-VAR-MKM ECF No. 118, PageID.1187 Filed 04/12/19 Page 12 of 19




  it is clear that Nicoletti is not admitting guilt, but really is engaging in a form of

  “gallows humor” with a sadly traitorous friend.

        In a case exceptionally similar to the matter before the Court, the government

  was allowed at trial to introduce tape recorded conversations between defendant and

  a person he believed was a co-conspirator. On a secretly recorded videotape the

  defendant tells his wired cohort, “Yeah. I’ve been knowin’ this brother all my life.

  We went to prison together. We did something together. We got caught, we went to

  trial. Ain’t nobody tell on nobody. You know what I’m saying? I ain’t going, hell,

  no. I ain’t no fool.” Defendant argued that the above, recorded conversation must be

  excluded under F.R.E. 403. Relying in part on Schrock, supra, the Sixth Circuit in

  United States v. Wesley, 417 F.3d 612, 622 (6th Cir. 2005) held:

        While the statements were relevant to show defendant's intent, it was
        hardly the only or the strongest evidence in that regard. As the district
        court recognized in deciding to give a cautionary instruction, reference
        to defendant's prior incarceration presents a classic danger of unfair
        prejudice—that the jury may decide guilt based on the fact that the
        defendant has a prior conviction. This is particularly a concern where the
        evidence presents a close question on the sufficiency of the evidence.
        Although the cautionary instruction reduces the danger of unfair
        prejudice, we find that the probative value of the evidence in this case
        was substantially outweighed by the danger of unfair prejudice and,
        therefore, defendant is entitled to a new trial.

        The spirit of the Wesley case is clearly applicable in the case before the Court.

  Defendant Nicoletti does not admit guilt in this case, instead he jokes about it with a


                                           -5-
Case 2:15-cr-20382-VAR-MKM ECF No. 118, PageID.1188 Filed 04/12/19 Page 13 of 19




  person whom he believes will be a co-defendant. However, the jury may easily

  misconstrue this, and then the effect will become catastrophic. That is the purpose of

  Rule 403 - to keep the jury from being misled by evidence that is marginally

  probative, but overwhelmingly prejudicial.

        Another factor to be considered in a Rule 403 analysis is whether the

  government is capable of proving its point with other, less objectionable evidence.

  Certainly, to put before the jury evidence which was obtained when one party to a

  conversation believed he spoke with a good friend, in earnest, wherein he could “let

  his hair down” and joke, even about such a serious subject as possible incarceration,

  while the other party acted as a police agent, using cunning and false good will to trick

  his unsuspecting confidant into an embarrassingly silly statement, stretches the

  concepts of fair play and reliable evidence.

        It is for the above reason that the Sixth Circuit has strongly suggested that the

  government, when faced with a situation like the present one, look to other evidence

  to prove its point. See, United States v. Jenkins, 593 F.3d 480, 485-86 (6th Cir. 2010)

  (“One factor in balancing unfair prejudice against probative value under Rule 403 is

  the availability of other means of proof”) (citing, United States v. Merriweather, 78

  F.3d 1070, 1077 (6th Cir. 1996).




                                            -6-
Case 2:15-cr-20382-VAR-MKM ECF No. 118, PageID.1189 Filed 04/12/19 Page 14 of 19




        In summary, the relevancy of the evidence contained in Nicoletti’s conversa-

  tions with Lucia is, at best, marginal. The prejudice, especially if the jury may take

  defendant literally, when it is clear beyond peradventure that he is speaking “tongue-

  in-cheek”, is overwhelming. The clear purpose of Rule 403 is to take a long, hard

  look at evidence which is otherwise admissible, and then determine whether the

  danger of unfair prejudice renders it simply “unfair.” Such is the case here, and,

  therefore the rigged phone conversation evidence should be suppressed.

        IV.    THE TAPES IN QUESTION ARE INADMISSIBLE FOR
               LACK OF AUTHENTICATION.

        The tapes in question were recorded over thirteen (13) years ago, with, at best,

  minimal oversight by the FBI, on poor grade equipment. They are largely unintellig-

  ible. Added to the above, there are questions about chain of custody.

        F.R.E. 901 sets forth the basic rule that the proponent of evidence must first put

  forward proof “sufficient to support a finding that the item is what the proponent

  claims it is.” F.R.E. 901(a).

        Further, the burden is on the government to show an unbroken and untainted

  chain of custody. “In order for evidence to be admissible, a chain of custody must

  exist that shows a reasonable probability that the evidence has not been changed or




                                            -7-
Case 2:15-cr-20382-VAR-MKM ECF No. 118, PageID.1190 Filed 04/12/19 Page 15 of 19




  altered.” United States v. Wilson, 565 F.3d 1059, 1066 (8th Cir. 2009) (internal

  citations omitted).

        These objections are not mere speculation or conjecture. If the Court wishes

  to listen to any appreciable portion of the full tapes, the poor quality of them will

  adequately confirm defendant’s misgivings. The taping was not monitored directly

  by the FBI. In fact, Mr. Lucia was left to his own discretion in choosing when and

  how to catch Mr. Nicoletti in what appear to be incriminating comments, and we have

  no way of knowing why the communications are so rigged. Therefore, the tapes

  should be ruled inadmissible.

        V.     IF THE GOVERNMENT IS ALLOWED TO INTRODUCE
               ANY EXCERPT OR EXCERPTS OF THE SURREPTI-
               TIOUS TAPES, THEN THE JURY MUST BE ALLOWED
               TO HEAR ALL OF THE RECORDINGS.

        It appears from the volume of the recordings which have been provided by the

  discovery given by the government to former counsel that there are approximately

  thirteen (13) hours of recorded phone calls between Nicoletti and Lucia. The problem

  for the defense is that substantially all of the excerpts the government wants admitted

  are explained, modified or otherwise have their derogatory imprint altered by hearing

  all of the conversations.




                                           -8-
Case 2:15-cr-20382-VAR-MKM ECF No. 118, PageID.1191 Filed 04/12/19 Page 16 of 19




        The Federal Rules of Evidence provide for this contingency in F.R.E. 106

  which states that:

        If a party introduces all or part of a writing or recorded statement, an
        adverse party may require the introduction, at that time, of any other
        part—or any other writing or recorded statement—that in fairness ought
        to be considered at the same time.

        “The ‘rule of completeness’ allows a party to correct a misleading impression

  created by the introduction of part of a writing or conversation by introducing

  additional parts of it necessary to put the admitted parts in proper context.” United

  States v. Holden, 557 F.3d 698, 705 (6th Cir. 2009) (cited in United States v. Ford, 761

  F.3d 641, 652 (6th Cir. 2014)).

        The only pertinent exception to the above rule is that it does not allow the

  admission of otherwise inadmissible hearsay. See United States v. Adams, 772 F.3d

  788, 826 (6th Cir, 2013).

        Defendant Nicoletti argues that statements, particularly like those suggesting

  that he may find out about “breaking rocks” at “Leveanworth” or “we might have to

  . . . forge some signatures . . .”, are explainable in the whole context of the many

  conversations in two, separate ways. First, when the entirety of the phone calls are

  heard, it eventually becomes apparent that Nicoletti is given to laughing off the fact

  that he is being investigated by the FBI, with a long series of ridiculous jokes about



                                            -9-
Case 2:15-cr-20382-VAR-MKM ECF No. 118, PageID.1192 Filed 04/12/19 Page 17 of 19




  a situation he just doesn’t think is serious. Second, statements about forgery are only

  properly understood with a full hearing about what documents are being discussed and

  why he would even consider alterations.4

        The government set out to get defendant to incriminate himself by selecting a

  modern day Brutus to play the role of a friend, while really desperately trying to trick

  his good pal, Nicoletti, into incriminating himself. The government wants all the

  wheat that came from the entrapment mill, but refuses to also accept the grist which

  was a component of their plan. The Court, if it chooses to give the government the

  best excerpts, must, in common fairness allow the bad with the good. The entirety of

  the tapes should be admitted.




        4
          The government may well complain that to spend the necessary trial time to
  listen to the full conversations will unnecessarily tax the Court and the jury with
  hours of listening to uninspiring conversation. The answer to any such anticipated
  complaint is two-fold. First, it was the government, and their agents (the FBI and
  Alan Lucia) who dictated the length and breadth of the tapes, and, hence, they have
  no right to complain about their time consumption before a jury. Second, if there
  is a legitimate argument about the senseless use of time in listening, then the
  solution is simply to not play them at all. See, e.g. United Sates v. Smithers, 212
  F.3d 306, 316 (6th Cir. 2000) (explaining F.R.E. 403's exclusion of evidence for
  “waste of time”).

                                           -10-
Case 2:15-cr-20382-VAR-MKM ECF No. 118, PageID.1193 Filed 04/12/19 Page 18 of 19




                                 CONCLUSION

        WHEREFORE, Defendant Paul Nicoletti, requests this Honorable Court grant

  this motion.

                                      Respectfully submitted,
                                      /s/James C. Howarth
                                      JAMES C. HOWARTH (P15179)
                                      Attorney for Defendant Nicoletti
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                                      Detroit, Michigan 48226
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  Dated: April 12, 2019




                                       -11-
Case 2:15-cr-20382-VAR-MKM ECF No. 118, PageID.1194 Filed 04/12/19 Page 19 of 19




                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

  UNITED STATES OF AMERICA,

         Plaintiff,
                                             File No. 15-cr-20382-01
  -vs-
                                             Honorable Victoria A. Roberts
  PAUL NICOLETTI,

         Defendant.

                          CERTIFICATE OF SERVICE

         I, JAMES C. HOWARTH, hereby certify that on the 12th day of April 2019,

  I electronically filed Motion in Limine to Prevent the Use of Government Wire

  Taps of Telephone Conversations of Defendant Paul Nicoletti with the Clerk of the

  Court using the ECF system which will send notification of such filing to the

  following: Honorable Victoria A. Roberts and AUSA Craig Weier.

                                       Respectfully submitted,
                                       /s/James C. Howarth
                                       JAMES C. HOWARTH (P15179)
                                       Attorney for Defendant Nicoletti
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  Dated: April 12, 2019
